               Case 22-11068-JTD             Doc 16373        Filed 05/31/24        Page 1 of 15

`


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                            Obj. Deadline: June 20, 2024 at 4:00 p.m. ET


    EIGHTEENTH MONTHLY FEE STATEMENT OF ALVAREZ & MARSAL NORTH
              AMERICA, LLC AS FINANCIAL ADVISORS TO THE
               DEBTORS AND DEBTORS-IN-POSSESSION FOR
        COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
         FROM APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

Name of Applicant                                          Alvarez & Marsal North America, LLC
Authorized to Provide Professional Services to:            Debtors and Debtors-in-Possession
Date of Retention:                                         January 19, 2023 nunc pro tunc to November
                                                           11, 2022
Period for which compensation and                          April 1, 2024 through April 30, 2024
reimbursement is sought:
Amount of Compensation sought as actual,                   $13,691,570.00
reasonable and necessary:
80% of Compensation sought as actual,                      $10,953,256.00
reasonable and necessary:
Amount of Expense Reimbursement sought as                  $341,316.49
actual, reasonable, and necessary:


This is a(n) X monthly ____ interim ____ final application. No prior application has been filed
with respect to this Fee Period.




1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
                        Case 22-11068-JTD            Doc 16373        Filed 05/31/24        Page 2 of 15

        `


                                           PRIOR FEE STATEMENTS FILED

                                                                   Requested                                 Approved 2
                           Date         Period
Fee Application                                             Fees              Expenses                Fees                 Expenses
                           Filed       Covered
 Interim Fee                          11/11/22 –
                          3/17/23                     $27,864,801.00          $631,004.78        $27,484,801.00            $611,004.78
 Application                            1/31/23
 Interim Fee                           2/1/23 –
                          4/4/23                      $35,911,779.00        $1,103,726.94        $35,526,779.00           $1,103,673.48
 Application                            4/30/23
 Interim Fee                           5/1/23 –
                          9/15/23                     $35,253,037.00         $1,536,701.51       $34,903,037.00           $1,516,701.51
 Application                            7/31/23
 Interim Fee                           8/1/23 –
                         12/15/23                     $35,890,097.80          $828,457.46       $35,388,611.60 3           $748,457.46
 Application                           10/31/23
 Monthly Fee                           11/1/23-
                         12/22/23                     $11,943,105.50          $228,530.69                 pending              pending
  Statement                            11/30/23
 Monthly Fee                           12/1/23-
                          1/31/24                     $10,145,766.70          $289,908.17                 pending              pending
  Statement                            12/31/23
 Monthly Fee                            1/1/24-
                          2/29/24                     $13,978,071.10          $258,616.79                 pending              pending
  Statement                             1/31/24
 Monthly Fee                            2/1/24-
                          3/28/24                     $10,925,111.20          $285,695.95                 pending              pending
  Statement                             2/29/24
 Monthly Fee                            3/1/24-
                          4/26/24                     $11,585,314.30          $287,213.10                 pending              pending
  Statement                             3/31/24




        2
            Approved Fees/Expenses reflect any reduction agreed upon by A&M, the U.S. Trustee, and Fee Examiner.

        3
            Interim approved amount includes a $320,000.00 fee reduction and a $181,486.20 holdback (20%) for the Kroll
               Security Incident related time entries, as agreed upon between A&M and the Fee Examiner.



                                                                -2-
                Case 22-11068-JTD      Doc 16373     Filed 05/31/24   Page 3 of 15

     `


                      SUMMARY OF BILLING BY PROFESSIONAL
                 APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                                                                      Total Hours           Total
   Timekeeper Name              Position           Hourly Rate
                                                                         Billed         Compensation
Arnett, Chris             Managing Director               $1,125                 88.4        $99,450.00
Bowles, Carl              Managing Director               $1,100                  1.3         $1,430.00
Chambers, Henry           Managing Director               $1,070                143.3       $153,331.00
Coverick, Steve           Managing Director               $1,075                251.3       $270,147.50
Dixon, Cody               Managing Director               $1,425                  1.2         $1,710.00
Farsaci, Alessandro       Managing Director               $1,150                  4.0         $4,600.00
Gordon, Robert            Managing Director               $1,150                 64.6        $74,290.00
Grillo, Rocco             Managing Director               $1,150                 16.9        $19,435.00
Grosvenor, Robert         Managing Director               $1,070                  5.8         $6,206.00
Hertzberg, Julie          Managing Director               $1,425                 44.0        $62,700.00
Howe, Christopher         Managing Director               $1,475                 31.2        $46,020.00
Iwanski, Larry            Managing Director               $1,150                 16.6        $19,090.00
Jacobs, Kevin             Managing Director               $1,475                 30.6        $45,135.00
Johnston, David           Managing Director               $1,100                170.3       $187,330.00
Kotarba, Chris            Managing Director               $1,425                  3.5         $4,987.50
Marshall, Jonathan        Managing Director               $1,150                  2.4         $2,760.00
Mosley, Ed                Managing Director               $1,425                212.2       $302,385.00
Roche, Matthew            Managing Director               $1,425                  1.2         $1,710.00
Ryan, Laureen             Managing Director               $1,150                 53.5        $61,525.00
Shanahan, Michael         Managing Director                 $990                 58.7        $58,113.00
Sielinski, Jeff           Managing Director               $1,100                143.4       $157,740.00
Stegenga, Jeffery         Managing Director               $1,525                  8.3        $12,657.50
Ulyanenko, Andrey         Managing Director               $1,425                 45.0        $64,125.00
Managing Director Total                                                       1,397.7     $1,656,877.50
Cope, Charles             Senior Advisor                  $1,425                  1.9         $2,707.50
Seaway, Bill              Senior Advisor                  $1,425                 24.1        $34,342.50
Senior Advisor Total                                                             26.0         $37,050.0
Blanks, David             Senior Director                 $1,025                207.0       $212,175.00
Brantley, Chase           Senior Director                   $950                267.5       $254,125.00
Broskay, Cole             Senior Director                   $975                 96.9        $94,477.50
Canale, Alex              Senior Director                   $965                 59.8        $57,707.00
Cornetta, Luke1           Senior Director                 $1,050                  3.3         $3,465.00
Dusendschon, Kora         Senior Director                   $965                 15.5        $14,957.50
Esposito, Rob             Senior Director                   $975                212.9       $207,577.50
Evans, Charles            Senior Director                   $900                  3.5         $3,150.00
Johnson, Robert           Senior Director                   $965                 66.4        $64,076.00


                                              -3-
                      Case 22-11068-JTD             Doc 16373        Filed 05/31/24        Page 4 of 15

     `


                                                                                           Total Hours           Total
   Timekeeper Name                        Position                Hourly Rate
                                                                                              Billed         Compensation
Konig, Louis                       Senior Director                             $965                   84.9        $81,928.50
Kwan, Peter                        Senior Director                             $965                  198.1       $191,166.50
Mohammed, Azmat                    Senior Director                             $975                  192.8       $187,980.00
Pandey, Vishal                     Senior Director                             $975                   14.4        $14,040.00
Ramanathan, Kumanan                Senior Director                           $1,050                  263.3       $276,465.00
Tarikere, Sriram                   Senior Director                             $975                   36.4        $35,490.00
Titus, Adam                        Senior Director                           $1,025                  239.4       $245,385.00
Zatz, Jonathan                     Senior Director                             $965                  141.3       $136,354.50
Senior Director Total                                                                              2,103.4     $2,080,520.00
Baker, Kevin                       Director                                    $800                  136.3       $109,040.00
Balmelli, Gioele                   Director                                    $850                   43.5        $36,975.00
Bell, Erik                         Director                                    $925                   83.6        $77,330.00
Casey, John                        Director                                    $775                  124.3        $96,332.50
Chamma, Leandro                    Director                                    $800                  141.8       $113,440.00
Dalgleish, Elizabeth               Director                                    $825                  139.4       $115,005.00
Dennison, Kim                      Director                                    $750                    6.4         $4,800.00
Flynn, Matthew                     Director                                    $850                  219.9       $186,915.00
Glustein, Steven                   Director                                    $825                  215.6       $177,870.00
Gosau, Tracy                       Director                                    $800                   65.5        $52,400.00
Hainline, Drew                     Director                                    $875                  209.2       $183,050.00
Henness, Jonathan                  Director                                    $925                   20.9        $19,332.50
Kearney, Kevin                     Director                                    $875                  283.6       $248,150.00
Lambert, Leslie                    Director                                    $800                   53.0        $42,400.00
Lannan, Matthew                    Director                                    $925                    0.8           $740.00
Lee, Julian                        Director                                    $800                   31.9        $25,520.00
LeGuen, Jonathon                   Director                                    $900                   34.6        $31,140.00
Lewandowski, Douglas               Director                                    $875                  187.4       $163,975.00
Lowe, Sam                          Director                                    $715                   14.2        $10,153.00
Lucas, Emmet 4                     Director                                    $825                  292.0       $240,900.00
McGrath, Patrick                   Director                                    $800                   66.0        $52,800.00
Mennie, James                      Director                                    $875                  167.2       $146,300.00
Mimms, Samuel                      Director                                    $715                    1.2           $858.00
Pekhman, Yuliya                    Director                                    $800                    0.4           $320.00
van den Belt, Mark                 Director                                    $850                  144.7       $122,995.00
Walia, Gaurav                      Director                                    $900                  256.4       $230,760.00
Director Total                                                                                     2,939.8     $2,489,501.00

     4
         Inclusive of billable time from prior months not included in previous Monthly Fee Applications.



                                                              -4-
               Case 22-11068-JTD    Doc 16373     Filed 05/31/24   Page 5 of 15

     `


                                                                   Total Hours          Total
   Timekeeper Name          Position            Hourly Rate
                                                                      Billed         Compensation
Teo, Benjamin          Senior Manager                    $725                  7.9        $5,727.50
Senior Manager Total                                                           7.9        $5,727.50
Blanchard, Madison     Manager                           $635                 57.4       $36,449.00
Cox, Allison           Manager                           $635                112.5       $71,437.50
Grussing, Bernice      Operations Manager                $375                  6.7        $2,512.50
Herring, Scott         Manager                           $725                228.2      $165,445.00
Hoffer, Emily          Manager                           $695                 25.8       $17,931.00
Kuruvilla, Daniel      Manager                           $725                 78.7       $57,057.50
Lam, James             Manager                           $650                  4.2        $2,730.00
Li, Summer             Manager                           $725                 75.7       $54,882.50
Pestano, Kyle          Manager                           $700                184.1      $128,870.00
Sivapalu, Anan         Manager                           $700                153.6      $107,520.00
Sloan, Austin          Manager                           $695                 12.4        $8,618.00
Tong, Crystal          Manager                           $700                157.3      $110,110.00
Work, David            Manager                           $725                120.7       $87,507.50
Zhang, Qi              Manager                           $725                159.9      $115,927.50
Manager Total                                                              1,377.2      $966,998.00
Braatelien, Troy       Senior Associate                  $625                140.1       $87,562.50
Chan, Jon              Senior Associate                  $580                 88.5       $51,330.00
Chuah, Jane            Senior Associate                  $495                  3.5        $1,732.50
Dobbs, Aaron           Senior Associate                  $580                  1.1          $638.00
Ebrey, Mason           Senior Associate                  $580                 86.4       $50,112.00
Ellis, Joey            Senior Associate                  $675                  7.5        $5,062.50
Faett, Jack            Senior Associate                  $700                219.7      $153,790.00
Gibbs, Connor          Senior Associate                  $650                 73.5       $47,775.00
Heath, Peyton          Senior Associate                  $775                259.1      $200,802.50
Helal, Aly             Senior Associate                  $615                 35.4       $21,771.00
Heric, Andrew          Senior Associate                  $635                161.8      $102,743.00
Jones, Mackenzie       Senior Associate                  $625                162.1      $101,312.50
Kaufman, Ashley        Senior Associate                  $685                 27.4       $18,769.00
Kolodny, Steven        Senior Associate                  $625                161.6      $101,000.00
LaPosta, Logan         Senior Associate                  $725                 62.5       $45,312.50
Montague, Katie        Senior Associate                  $775                 72.2       $55,955.00
Parker, Brandon        Senior Associate                  $800                 28.6       $22,880.00
Sagen, Daniel          Senior Associate                  $775                244.6      $189,565.00
Sunkara, Manasa        Senior Associate                  $580                159.7       $92,626.00
Todd, Patrick          Senior Associate                  $685                 94.2       $64,527.00
Trent, Hudson          Senior Associate                  $725                303.2      $219,820.00


                                            -5-
                 Case 22-11068-JTD    Doc 16373     Filed 05/31/24   Page 6 of 15

     `


                                                                     Total Hours           Total
   Timekeeper Name            Position            Hourly Rate
                                                                        Billed         Compensation
Wilson, David            Senior Associate                  $615                176.7       $108,670.50
Yan, Jack                Senior Associate                  $530                  4.7         $2,491.00
Zabcik, Kathryn          Senior Associate                  $625                 77.8        $48,625.00
Senior Associate Total                                                       2,651.9     $1,794,872.50
Beretta, Matthew         Associate                         $525                222.6       $116,865.00
Collis, Jack             Associate                         $550                 25.5        $14,025.00
Francis, Luke            Associate                         $650                303.3       $197,145.00
Gonzalez, Johnny         Associate                         $700                326.2       $228,340.00
Kane, Alex               Associate                         $650                233.6       $151,840.00
Krautheim, Sean          Associate                         $560                 82.3        $46,088.00
Lowdermilk, Quinn        Associate                         $580                167.6        $97,208.00
Mirando, Michael         Associate                         $625                155.1        $96,937.50
Paterson, Warren         Associate                         $400                  4.6         $1,840.00
Price, Breanna           Associate                         $560                 22.1        $12,376.00
Radwanski, Igor          Associate                         $580                133.5        $77,430.00
Slay, David              Associate                         $625                266.9       $166,812.50
Smith, Cameron           Associate                         $625                190.2       $118,875.00
Soto, Eric               Associate                         $675                  4.6         $3,105.00
Steers, Jeff             Associate                         $625                 34.4        $21,500.00
Taraba, Erik             Associate                         $650                 85.8        $55,770.00
Ward, Kyle               Associate                         $556                170.0        $94,520.00
Wiltgen, Charles         Associate                         $650                 51.8        $33,670.00
Witherspoon, Samuel      Associate                         $650                244.8       $159,120.00
Associate Total                                                              2,724.9     $1,693,467.00
Burns, Zach              Consultant                        $500                194.3        $97,150.00
Consultant Total                                                               194.3        $97,150.00
Agarwal, Pulkit          Analyst                           $475                 71.2        $33,820.00
Baranawal, Amisha        Analyst                           $450                 24.3        $10,935.00
Arora, Rohan             Analyst                           $475                169.4        $80,465.00
Avdellas, Peter          Analyst                           $525                203.7       $106,942.50
Barry, Gerard            Analyst                           $450                  6.8         $3,060.00
Bolduc, Jojo             Analyst                           $475                140.8        $66,880.00
Clayton, Lance           Analyst                           $525                264.3       $138,757.50
Duncan, Ryan             Analyst                           $475                247.7       $117,657.50
Ernst, Reagan            Analyst                           $475                255.2       $121,220.00
Fonteijne, Bas           Analyst                           $450                 63.6        $28,620.00
Gidoomal, Dhruv          Analyst                           $500                232.6       $116,300.00
Goyal, Mehul             Analyst                           $450                 81.9        $36,855.00


                                            -6-
                Case 22-11068-JTD     Doc 16373     Filed 05/31/24   Page 7 of 15

     `


                                                                     Total Hours           Total
   Timekeeper Name           Position             Hourly Rate
                                                                        Billed         Compensation
Gupta, Kavya            Analyst                            $450                 84.3        $37,935.00
Haq, Kamran             Analyst                            $500                137.3        $68,650.00
Hogge, Will             Analyst                            $425                  2.0           $850.00
Hubbard, Taylor         Analyst                            $500                177.4        $88,700.00
Karnik, Noorita         Analyst                            $480                 29.8        $14,304.00
Kaur, Jaspreet          Analyst                            $450                 86.0        $38,700.00
Khan, Abir              Analyst                            $450                 58.4        $26,280.00
Khurana, Harshit        Analyst                            $450                106.4        $47,880.00
Kumar, Aamaya           Analyst                            $450                 82.5        $37,125.00
Lockwood, Luke          Analyst                            $525                 63.7        $33,442.50
Mittal, Anuj            Analyst                            $450                136.8        $61,560.00
Myers, Claire           Analyst                            $500                228.5       $114,250.00
Paolinetti, Sergio      Analyst                            $475                210.0        $99,750.00
Pasricha, Anshuman      Analyst                            $450                 67.3        $30,285.00
Ragan, Noah             Analyst                            $500                152.5        $76,250.00
Ribman, Tucker          Analyst                            $475                277.1       $131,622.50
Saraf, Nancy            Analyst                            $450                 85.6        $38,520.00
Sekera, Aryaki          Analyst                            $450                129.7        $58,365.00
Selwood, Alexa          Analyst                            $525                250.6       $131,565.00
Sharma, Khushboo        Analyst                            $450                 84.6        $38,070.00
Sharma, Rahul           Analyst                            $450                 67.2        $30,240.00
Simoneaux, Nicole       Analyst                            $525                299.2       $157,080.00
Stockmeyer, Cullen      Analyst                            $525                261.7       $137,392.50
Stolyar, Alan           Analyst                            $500                203.5       $101,750.00
Tenney, Bridger         Analyst                            $525                300.5       $157,762.50
Thadani, Harshit        Analyst                            $450                135.0        $60,750.00
Thomas, Izabel          Analyst                            $450                123.9        $55,755.00
Uppal, Sadhika          Analyst                            $450                 74.9        $33,705.00
Yadav, Vijay            Analyst                            $450                 32.9        $14,805.00
Yang, Sharon            Analyst                            $500                169.1        $84,550.00
Analyst Total                                                                5,879.9     $2,869,406.50
GRAND TOTAL                                                                 19,303.0    $13,691,570.00


                                  Blended Hourly Rate: $709.30




                                              -7-
              Case 22-11068-JTD             Doc 16373         Filed 05/31/24        Page 8 of 15

`


                   STATEMENT OF FEES BY PROJECT CATEGORY 5
                APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                            Project Name                                        Hours           Fee Amount
ACCOUNTING                                                                         191.6           $128,300.00
ASSET SALES                                                                      1,295.7           $911,282.50
AVOIDANCE ACTIONS                                                                1,278.5           $849,231.00
BUSINESS OPERATIONS                                                              3,202.3         $2,359,088.50
CASE ADMINISTRATION                                                                 60.9            $68,427.50
CASH MANAGEMENT                                                                    810.0           $533,185.00
CLAIMS                                                                           6,127.3         $3,898,672.50
COMMUNICATIONS                                                                      11.5            $13,577.50
CONTRACTS                                                                          598.4           $386,062.50
COURT AND UST REPORTING                                                            161.9           $112,202.50
CREDITOR COOPERATION                                                               206.0           $163,524.00
DISCLOSURE STATEMENT AND PLAN                                                    3,649.9         $2,796,854.50
DUE DILIGENCE                                                                      123.5            $84,231.50
EMPLOYEE MATTERS                                                                    31.6            $18,895.00
FEE APPLICATION                                                                     13.2             $7,385.00
FINANCIAL ANALYSIS                                                                 246.9           $234,197.50
GOVERNMENT AND REGULATORY DATA REQUESTS                                             80.0            $53,524.50
JOINT OFFICIAL LIQUIDATORS                                                         145.3           $142,597.50
LIQUIDATION ANALYSIS                                                               394.9           $291,837.50
MOTIONS AND RELATED SUPPORT                                                        116.6            $97,065.00
SCHEDULES AND STATEMENTS                                                            16.6            $16,418.00
SOLICITATION                                                                       157.7           $134,430.50
TAX INITIATIVES                                                                    296.4           $310,785.00
VENDOR MANAGEMENT                                                                   22.8            $12,707.50
NON-WORKING TRAVEL (BILLED AT 50%)                                                  63.5            $67,087.50
GRAND TOTAL                                                                     19,303.0       $ 13,691,570.00




5
    The subject matter of certain time entries may be appropriate for more than one project category. In such
    instances, time entries generally have been included in the most appropriate category. Time entries do not
    appear in more than one category.



                                                       -8-
    Case 22-11068-JTD   Doc 16373   Filed 05/31/24   Page 9 of 15

`


       SUMMARY OF ACTUAL AND NECESSARY EXPENSES

                         Expense Summary
               Expense Category               Amount
       License Fees                             $267,954.72
       Lodging                                   $14,979.01
       Airfare                                   $50,793.73
       Transportation                             $4,213.56
       Meals                                      $3,007.78
       Miscellaneous                                $367.69
       TOTAL                                    $341,316.49




                              -9-
              Case 22-11068-JTD             Doc 16373        Filed 05/31/24        Page 10 of 15

`


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)



    EIGHTEENTH MONTHLY FEE STATEMENT OF ALVAREZ & MARSAL NORTH
              AMERICA, LLC AS FINANCIAL ADVISORS TO THE
               DEBTORS AND DEBTORS-IN-POSSESSION FOR
        COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
         REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD
         FROM APRIL 1, 2024 THROUGH AND INCLUDING APRIL 30, 2024

                  Alvarez & Marsal North America, LLC (“A&M”), Financial Advisors to FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession in the above-captioned cases

(collectively, the “Debtors”), hereby submits this Eighteenth Monthly Fee Statement (this

“Monthly Fee Statement”) for compensation for professional services rendered and expenses

incurred for the period from April 1, 2024, through and including April 30, 2024 (the “Fee

Period”). In support of the Monthly Fee Statement, A&M respectfully states as follows:

                                                  Background

                  1.       On November 11 and November 14, 2022, 2 the Debtors filed with the

United States Bankruptcy Court for the District of Delaware (the “Court”) voluntary petitions for

relief under title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended or modified,


1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
     and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
     the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
     complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
     November 11, 2022 is the petition date for all Debtors, except for Debtor West Realm Shires Inc.
           Case 22-11068-JTD         Doc 16373       Filed 05/31/24   Page 11 of 15

`


the “Bankruptcy Code”). The Debtors continue to operate their businesses and manage their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was authorized by the

Court by entry of an order on November 22, 2022 [D.I. 128]. On December 15, 2022, the Office

of the United States Trustee for the District of Delaware (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Committee”) pursuant to section 1102 of the

Bankruptcy Code [D.I. 231].

               2.       On January 19, 2023, the Court entered the Order Authorizing the

Retention and Employment of Alvarez & Marsal North America, LLC as Financial Advisors to

the Debtors and Debtors-in-Possession Pursuant to Sections 327(a) and 328 of the Bankruptcy

Code [D.I. 534], authorizing the retention and employment of A&M as the Debtors’ financial

advisors, nunc pro tunc to November 11, 2022.

               3.       On January 9, 2023, the Court entered the Order Establishing Procedures

for Interim Compensation and Reimbursement of Expenses of Professionals, [D.I. 435] (the

“Interim Compensation Order”).

               4.       On March 8, 2023, the Court entered the Order (I) Appointing Fee

Examiner and (II) Establishing Procedures for Consideration of Requested Fee Compensation

and Reimbursement of Expenses [D.I. 834] appointing Katherine Stadler (the “Fee Examiner”) to

serve as the fee examiner in these Chapter 11 Cases and establishing certain procedures in

connection therewith.

                                        Relief Requested

               5.       By this Monthly Fee Statement and in accordance with the Interim

Compensation Order, A&M makes this application for (i) allowance of compensation as an

administrative expense of the Debtors’ estates in the amount of $13,691,570.00 for reasonable


                                               -2-
            Case 22-11068-JTD          Doc 16373       Filed 05/31/24     Page 12 of 15

`


and necessary professional services rendered, (ii) payment of compensation in the amount of

80% thereof (in the amount of $10,953,256.00) and (iii) payment of $341,316.49 for actual and

necessary expenses incurred.

       a. Compensation Requested

               6.      The services performed by A&M during the Fee Period included, among

others, monetization from the sale of Anthropic shares and digital assets, filing notice of

successful bid and form of sale order for the sale of LedgerX, provision of filed Plan Recovery

Analysis and disclosure statement as of March 31st, preparation of diligence items pertaining to

governmental investigations, entrance of the Voyager Settlement Agreement, identification of

avoidance actions among insiders and related parties, and withdrawal, expungement, and

modification of customer entitlement and general unsecured claims. The following exhibits are

attached hereto for the Fee Period: (i) Exhibit A is a summary of time detail by professional; (ii)

Exhibit B is a summary of time by task; (iii) Exhibit C is a summary of time records by

professional by project category; and (iv) Exhibit D is a summary of time detail by activity by

professional. This detailed itemization complies with Local Rule 2016-2 in that each time entry

contains a separate time allotment, a description of the type of activity and the subject matter of

the activity, all time is billed in increments of one-tenth (1/10) of an hour, time entries are

presented chronologically in categories, and all meetings or hearings are individually identified.

               7.      The timekeepers who rendered services related to each category are

identified in Exhibit A, Exhibit B, Exhibit C, and Exhibit D along with the number of hours for

each individual and the total compensation sought by each category. All services for which

A&M requests compensation were performed for, or on behalf of, the Debtors.




                                                 -3-
           Case 22-11068-JTD         Doc 16373       Filed 05/31/24     Page 13 of 15

`


       b. Expense Reimbursement

               8.      A&M incurred out-of-pocket expenses during the Fee Period in the

amount of $341,316.49. The following exhibits are attached hereto for the Fee Period:

(i) Exhibit E is a summary of expenses by category and (ii) Exhibit F is a description of the

expenses actually incurred by A&M in the performance of services rendered as Financial

Advisors to the Debtors. The expenses are broken down into categories of charges, which may

include, among other things, the following charges: license fees, airfare, lodging, out of town

meals, transportation, and other expenses.

               9.      In accordance with section 330 of the Bankruptcy Code, A&M seeks

reimbursement only for the actual cost of such expenses to A&M. A&M submits that all such

expenses incurred were customary, necessary and related to the Chapter 11 Cases and, by this

Monthly Fee Statement, requests reimbursement of the same.

                                      Valuation of Services

               10.     Professionals of A&M have expended a total of 19,303.0 hours in

connection with this matter during the Fee Period.

               11.     The amount of time spent by each of the professionals providing services

to the Debtors for the Fee Period is set forth in Exhibit A, Exhibit B, Exhibit C, and Exhibit D.

The rates are A&M’s normal hourly rates of compensation for work of this character. The

reasonable value of the services rendered by A&M for the Fee Period as Financial Advisors for

the Debtors in the Chapter 11 Cases is $13,691,570.00.

               12.     A&M believes that the time entries included in Exhibit A, Exhibit B,

Exhibit C, and Exhibit D, attached hereto and the expense breakdown set forth in Exhibit E and

Exhibit F attached hereto are in compliance with the requirements of Local Rule 2016-2.




                                               -4-
            Case 22-11068-JTD         Doc 16373       Filed 05/31/24     Page 14 of 15

`


               13.     In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, the amount requested is fair and reasonable given the complexities of these

Chapter 11 Cases, the time expended, the nature and extent of the services rendered, the value of

such services, and the costs of comparable services other than in a case under this title.

                             Certificate of Compliance and Waiver

               14.     The undersigned representative of A&M certifies that he has reviewed the

requirements of Local Rules 2016-2 and that the Monthly Fee Statement substantially complies

with such rule. To the extent that the Monthly Fee Statement does not comply in all respects

with the requirements of Local Rule 2016-2, A&M believes that such deviations are not material

and respectfully requests that any such requirements be waived.

                                  Notice and No Prior Request

               15.     Notice of this Monthly Fee Statement has been given to the following

parties or, in lieu of, to their counsel, if known: (a) the U.S. Trustee; (b) the Official Committee

of Unsecured Creditors, (c) the Fee Examiner; and (d) all parties required to be given notice in

the Interim Compensation Order. A&M submits that no other or further notice is necessary.

               16.     No prior request for the relief sought in this Monthly Fee Statement has

been made to this or any other Court.




                                                -5-
           Case 22-11068-JTD         Doc 16373       Filed 05/31/24     Page 15 of 15

`


                WHEREFORE, A&M respectfully requests that the Bankruptcy Court

(i) approve the Monthly Fee Statement and (ii) grant such further relief as is just and proper.



Respectfully,

Alvarez & Marsal North America, LLC



By:    _____________________
       Ed Mosley
       Title: Managing Director




                                               -6-
